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                          EXHIBIT A
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                                  D-1-GN-18-001835
 NEIL HESLIN and SCARLETT LEWIS                §                   IN DISTRICT COURT OF
                                               §
 VS.                                           §                  TRAVIS COUNTY, TEXAS
                                               §
 ALEX E. JONES and FREE SPEECH                 §                    261st DISTRICT COURT
 SYSTEMS, LLC                                  §



                 PLAINTIFFS’ APPLICATION FOR TURNOVER ORDER


        Plaintiffs (and judgment creditors) Neil Heslin and Scarlett Lewis apply for an order

to aid in satisfying the judgment rendered by the Court in their favor against Free Speech

Systems, LLC. 1 As the Court will recall, Heslin and Lewis obtained a judgment in this case for

over $50 million plus interest against Free Speech Systems. 2 See Ex. 2 (Final Judgment). While

that judgment was rendered in January 2023, neither Heslin nor Lewis have collected

anything on that judgment because collections were stayed while Free Speech Systems was

in bankruptcy. See Ex. 1 (Decl. of Avi Moshenberg). The bankruptcy court, however, has just

dismissed the bankruptcy—meaning that Heslin and Lewis are now permitted to collect on

their judgments. See Ex. 3 (Order dismissing FSS’s bankruptcy). Under the Texas turnover

statute, they now respectfully ask that the Court order Free Speech Systems to turn over all

its nonexempt property. See TEX. CIV. P. & REM. CODE § 31.002.




1 Plaintiffs do not seek a turnover order against Alex Jones, individually. Alex Jones remains

in bankruptcy and an automatic stay bars any collections against Jones individually.
2 The Court has jurisdiction to enforce its judgment                                 . See
Alexander Dubose Jefferson & Townsend LLP v. Chevron Phillips Chem. Co., L.P., 540 S.W.3d
577, 581 (Tex. 2018)
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       The Texas turnover statute authorizes the Court to aid through injunction or other

means to reach property to obtain satisfaction on a judgment if the judgment debtor owns

property, including present or future rights to property, that is not exempt. See id. at §

31.002(a).                        he statute expressly authorizes the Court to “order the

judgment debtor to turn over nonexempt property that is in the debtor’s possession or is

subject to the debtor’s control” and “otherwise apply the property to the satisfaction of the

judgment . . . .” See id. at § 31.002(b). Because Free Speech Systems is a business and not an

individual, none of its property is considered exempt from collections. Accordingly, there is

no debate about which property of Free Speech Systems is exempt and all of it may be turned

over. That is especially true since t

to turnover. See id. at § 31.002(h). So the Court may order Free Speech Systems to turn over

all its property.

        For these reasons, Heslin and Lewis respectfully ask that the Court order Free Speech

Systems to turn over all its property—including its real property, personal property, and

intellectual property—to Heslin and Lewis immediately. 3 Heslin and Lewis also ask that Free

Speech Systems be further enjoined from transferring, assigning, or conveying its property

to any insiders              within the meaning of the Texas Uniform Fraudulent Transfer Act

without a prior court order. See Tex. Bus. & Comm. Code § 24.001–12. Heslin and Lewis

further ask that any order of this Court be enforced through contempt proceedings or any

other appropriate means if Free Speech Systems refuses to comply with or disobeys the

Court’s order.


3 This is includes                                                . 4 (FSS’s liquidation
analysis) and Ex. 5, at 5. (April 2024 monthly operating reports showing accounts with
Cadence Bank).
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      Dated: June 21, 2024



                                        Respectfully submitted,

                                        KASTER LYNCH FARRAR & BALL, LLP


                                        ____________________________________
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                                             LAWSON & MOSHENBERG PLLC

                                             __/s/ Avi Moshenberg________________________
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                              CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2024, the forgoing document was served upon all
counsel of record via electronic service.




                                        ____________________________________
                                        MARK D. BANKSTON
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    NEIL HESLIN and SCARLETT LEWIS               §                   IN DISTRICT COURT OF
                                                 §
    VS.                                          §                  TRAVIS COUNTY, TEXAS
                                                 §
    ALEX E. JONES and FREE SPEECH                §                   261st DISTRICT COURT
    SYSTEMS, LLC                                 §



                                      TURNOVER ORDER


       The Court has considered Plaintiffs’ Application for Turnover Order and any response
and arguments by the parties’ counsel. Having done so, the Court hereby orders that the
Application should be GRANTED.

       It is therefore ORDERED that Defendant and Judgment Debtor Free Speech Systems,
LLC turn over all its nonexempt property to Plaintiffs immediately. This includes (but is not
                                                                                l as all other


accounts or being held or controlled by any other third parties at the direction of Free Speech
Systems.

           It is further ORDERED that Free Speech Systems is further enjoined from transferring,

meaning of the Texas Uniform Fraudulent Transfer Act 1
Court.
\
       This ORDER may be enforced through contempt proceedings if Free Speech Systems




                                                     Travis County District Judge




1
    See                                  –12.
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                            Exhibit E


                      Liquidation Analysis
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                                                                                                                                                             FREE SPEECH SYSTEMS LLC
                                                                                                                                                               Southern District of Texas
                                                                                                                                                                         Case #22-60043
                                                                                                                                             Hypothetical Liquidation Analysis - Exhibit E
                                                                                                                                                                      as of 11/15/2023



                                                                                Est. Cost /                  Estimated Recovery %                           Estimated Proceeds $
Notes                                                                          Book Value                    Low             High                           Low             High
           ASSETS
 (a)          Cash                                                             1,918,283.00                     100.0%               100.0%            1,918,283.00          1,918,283.00
 (a)          Accounts Receivable                                                551,181.00                     100.0%               100.0%              551,181.00            551,181.00
 (b)          Inventory                                                        2,128,805.00                      35.0%                 55.0%             745,081.75          1,170,842.75
 (c)          Prepaids / Deposits                                                500,000.00                     100.0%               100.0%              500,000.00            500,000.00
 (d)          Intangible Assets                                                  150,000.00                      35.0%                 50.0%               52,500.00            75,000.00
 (e)          Fixed Assets
                   Computer Equipment                                            403,800.00                      15.0%                 30.0%              60,570.00            121,140.00
                   Facilities Equipment                                          180,690.00                      25.0%                 45.0%              45,172.50             81,310.50
                   Office Furniture                                              138,300.00                      25.0%                 45.0%              34,575.00             62,235.00
                   Production Equipment                                          969,019.00                      15.0%                 30.0%             145,352.85            290,705.70
 (e)          Vehicles                                                           400,000.00                      35.0%                 55.0%             140,000.00            220,000.00
              Total Proceeds Available for Distribution                        7,340,078.00                                                            4,192,716.10          4,990,697.95


           LIQUIDATION EXPENSES
 (f)          Trustee Fees                                                                                                                               115,299.69            137,244.19
 (g)          Trustee Council                                                                                                                             92,239.75            109,795.35
 (h)          LLC Wind Down Costs                                                                                                                        733,725.32            873,372.14
  (i)         Liquidation Expenses                                                                                                                       209,635.81            374,302.35
 (j)          Contingency                                                                                                                                 62,890.74             74,860.47
              Total Liquidation Expenses                                                                                                               1,213,791.31          1,569,574.51


                     NET PROCEEDS AVAILABLE FOR CREDITORS                                                                                              2,978,924.79          3,421,123.44


           ALLOCATION OF PROCEEDS
 (k)          Secured Creditors                                                                                                                            80,161.04            80,161.04
  (l)         Estimated Priority Claims                                                                                                                  465,000.00            465,000.00
 (m)          Legal and Professional Fees                                                                                                                265,000.00            265,000.00
 (n)          Unsecured Creditors                                                                                                                        760,626.83            760,626.83
              Total Secured and Unsecured Claims                                                                                                       1,570,787.87          1,570,787.87


                     NET PROCEEDS AVAILABLE TO SETTLE PLAINTIFF JUDGEMENTS                                                                             1,408,136.92          1,850,335.57


              NOTES
                     (a)   Amount per the 9/30/2023 Monthly Operating Report filed with the Court on 10/20/2023. Accounts receivable is assumed 100% collectible
                           since it is exclusively credit card receivables and are settled in just a few days after the transaction is processed.

                     (b)   Inventory consists of finished products delivered to our fulfillment partner's warehouse and available on the InfoWars website for sale.
                           Recovery percentages take into account the fact that the supplement products are labeled for InfoWars and are often specifically chosen to appeal
                           to our specific audience. Any third party buyer would have the costs and effort to relabel the supplement products. Non-supplement inventory
                           has little to no value as it is very specific to InfoWars. The high and low recovery percentages are the best estimates of management.

                     (c)   Deposit on Credit Card Processing account with Sweetwater Holding Group Inc. Amount assumes there are no material deposits with supplement
                           manufacturers for orders that have not been delivered to our fulfillment partner. Recovery estimates assume that the deposit will be returned
                           to Free Speech Systems in a timely manner.

                     (d)   There are numerous internet domain names owned and registered with Free Speech Systems LLC, the most valuable of which is InfoWars.com
                           Liquidation values are the best estimate of management of the value that these domain names could be sold in a liquidation

                     (e)   Vehicles consist of an 40' RV and a highly modified / armored Ford F450. Neither vehicle is easily marketable and price quotes for comparable
                           sales is not readily available. The realization amounts are managements best estimate of the amounts that would be recovered at auction.

                     (f)   Trustee fees are assumed to be limited to 2.75% of the Total Proceeds Available for Distribution.

                     (g)   Compensation for Trustee's counsel is assumed to be 80% of estimated trustee fees.

                     (h)   Estimates for wind-down costs include operating expenses and other costs considered likely to be incurred during the liquidation period. The
                           liquidation period is assumed to be 8-10 months. Assumes 6 months to conclude the sale of all assets and an additional 2-4 months for
                           administrator and staff to conclude the operations of the company, including resolution of all employee related issues and filing all required
                           tax returns. It contemplates the majority of corporate and all production staff will be terminated immediately and an administrative team
                           of accounting, HR and legal staff will guide the wind-down. The costs associated with the wind-down are estiamted to be 17.5% of
                           Total Proceeds Available for Distribution.

                     (i)   Liquidation expenses include the costs of professional brokers and liquidators to sell all the inventory, vehicles and fixed assets. It is estimated to
                           between 5% and 7.5% of Total Proceeds Available for Distribution.

                     (j)   There is a 1.5% contingency for expenses that are not known or knowable as of the preparation of this liquidation analysis

                     (k)   As of September 30, 2023 the balance on a note to SEC Bank of Crawford secured by the RV is approximately $80,161.04

                     (l)   Estimated claim amounts from state taxing authorities, lease rejection damages and other known and unknown and disputed priority claims
                     (m)   There are accounts payable to legal, tax and accounting professionals estimated to be $265,000

                     (n)   See attached analysis of Unsecured Claims
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                                                                FREE SPEECH SYSTEMS LLC
                                                                   Southern District of Texas
                                                                             Case #22-60043
                                           Analysis of Potential Unsecured Claims - Exhibit E
                                                                          as of 11/15/2023



                        Vendor                          Balance            Disputed
       American Express                                199,678.58
       Randazza Law Firm                               153,826.91         X
       One Party America LLC                            82,619.55         X
       Jacquelyn Blott, Attorney at Law                 58,280.00         X
       DeLage Landen Fiancial Services                  50,537.28         X
       Reeves Law Firm                                  36,436.00         X
       Joel Skousen                                     35,035.00         X
       Wisconsin Dept of Revenue                        17,567.78         X
       Greenaire, Inc                                   12,240.00
       MRJR Holdings, LLC                               12,000.00
       Konica Minlota Premier Finance                     1,761.27        X
       American Media / Reality Zone                        404.76
       Stetson Deese                                        239.70

                                                       660,626.83
 (a)   Other                                           100,000.00
 (b)   Total Estimated Unsecured Claims                760,626.83




 (a)   Represents a contingency for potential unidentified claims

 (b)   Total estimated Unsecured Claims is management's best estimate of the
       outstanding claims through an analysis of the SFOA schedules filed at 7/29/22,
       the critical vendor schedules, payments made post bankruptcy filing and the
       proof of claims summary as of 10/7/23. There are several disputed claims
       that total $436,063.79. In an abundance of caution we have disclosed them
       as claims that will be paid even though we expect the actual amount to
       be significantly lower.
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